10

11'

12

13

14

15_

16
17
11
' 19
20
21

`22

23`

21

25

 

Ryan Lee (SBN; 235879)
r1ee@c0nsumerlawcente1“.com
Matthew A Rosenthzd (SBN 279334)
11110Senthal@consumeriawcenter.com
Krohn & Moss, Ltd.

10474 Santa Monica Blvd §te 405

Tel: 323 988-2400
Fax: 866-861~1390

_Attomeys for Plaintiff,
RAYMUNDO TORRES

RAYMUNDG TORRES
~1>111111111,
`“ V. l
SEVENTH AVENUE., 1110

.Defendant.

Case 2:14-cv-06010-RSWL-AGR Document 1

‘ 1113 Ang@les CA 90025

4 \_/\./\./\./\./\./¢\_/\_/\./\-../-./

 

(TCPA).

Filed 07/31/14 Page 1 of 10 Page |Da

 

1=11§°1§
01511§, u.s. osammr 1_;;);1§§;1
1

1111131’1311

01:111.~111111131'11<‘~11111:111 `

-;‘j"
.:..-'»M.M“

 

 

 

 

 

 

UNITED STATES DISTRICT CO`URT
CENTRAL DISTRICT 011 CALIFORMA
' WESTERN DIV.ISION

' ase§

    

PL_AINTIFF’S COMPLAINT AND
I)EMAND FOR JURY TRIAL '

_ Plé1ntiff,RAY1\/IUN13…O TORRE§ (Pl_aintiff) 11110`11'§;11` 1113 attomeys, KR`OHN & MOSS -
LTD., al1'e'g'es the following against Deferi_dant,` SEVENTH AVENUE 1NC..(D€1`@11113111):
lNTRODUCTION ` '

1. Count 1 of Plaintiff’S Complaint a1leges that 33€1`@11€121111 peg11gen11y`, 11110W111g1y and/01

‘ w11111111y violated the Teiephone Conshrrier P1_'0115c'11011 Act, 47 U §. C. § 222 et seq

Count 11 of Plaintiff’$? Comf)fairit 15'1)&3€11 011"1{081)11_111211;11`&1_1 Debt` (3011€§11bn Prdctic;es ' :

Ac:, ca1 civ'. Con §1783 ersaq, (RF:`)CPA).

l JURISpi_CTIGN ANI)"VENUE_

 

3. Jurisdiction 01 this court arises'pursuaht_to 28 U.§.C. 13:31.'

._lld_

PLANTIPFjS` COMPLAINT _

 

¢:6

umw m /(ng. 11111@)“

 

A

age 2:14-cv-06010-RSWL-AGR Document 1 Filed 07/31/14 Page 2 of 10 Page |D #

Det`endant conducts business in the state of Calit`oi'nia, and thenefore9 personal

jurisdiction is established

Venue is proper pursuant to 28 U.S.C. 1391(b)(2).

 

'_‘ ll

119

`21

`. ` n .22`

 

 

l limited to, 877¢993-44'94'.

' his cellular phone using an automated dialing`systern. '

1 4.
2
3 5.
5 6.
6 7.
7 .s.
8
9
lO
9.
‘ 12
_ 13 . - io.
14
15 ‘ \_
j __ 11.
t 16' '
"17 -
"'is ~ '1'2'
' 20 `13.
" 14.
-23`
24 _ '15.
25

` Defendant acted through its agents, employees,' ofticei's, memb'ers, directors, heirs,

` system (“au,to-dialer”)¢.

including but not lilnited to the'following:

Plaintii`t` is a natural person residing in Carson, Los Angeles County, Califomia.

Det`endant is a business entity With its principal place of business in Monroe, Wisconsin._

successors, assigns, principals, trustees, sureties, snbrogees, tepresentatives, and
insurers _ n

_ _ FACTUAL ALLEGATIO_NS
Defendant places collection calls to li’laintiff inits attempts_to contact an unknown third
patsy _
Defendant places collection calls to Plaintift" s cellular telephone at phone number (424)

200-56XX. '

l)efendant places collection calls to Plai_n_tiff from phone numbers z`.ncii;td_iinga but not l

Per it's_'p_i‘ior 1business practices, .Det`endant_’s calls Were' placed Witli an automated dialing_"

Plaintiff has never provided Defendant With any of his contact i_nfoi_tnation, including his
cellular telephone numbcr.

Plaintiff never piovide`d_ Defendant With any consent, express of in_iplied, to place calls to

Defendant placed at least twenty~two '(22j automated collection calls to Plaintiff,

,.2,;

‘ PLAINHFF’s comein

… .W _._ _i,__.` _ ____ nl ,W.`, v,,,l,, A, ,… m , ,.. ..,,_.__..__ PARTIES* M….m… .,..…..___._.. ___ .4,.,».,,~»…\.,»...~~Y44nva n i,.m.m..,...…...~..._ ____i.._._...i..= ».M- .

 

110

11

12

,13

f\

14

15

17
- is
19
20
21
22
23

24

l25

 

IaSe 2:14-cv-06010-RSWL-AGR Document 1 Filed 07/31/14 Page 3 of 10 Page_ |D #

.

March 25, 20141 one (l) call;

March 26, 2014: one (1) ca11;

l\/Iarcl_i 29, 2014: one (l) cail;

Apnl 1 2{}14: one (1) call

C

‘ April 10, 2014: five (5) calls;

Ap'ril 15, 2014: one (1) call;

Apai `16, 2014: two (2`)<>3118;

0

April 17, 2014: one (1) call;

April 18, 2014; one (l) call;

. April 25, 2014: three (3) -calls;

'_ April 29, 2014: two (2) calls`;

May 6, 2014: two (2) calls;

May 9, 2014: one (l-.) call.

` ` CoUNri 1 ` ' ‘
_ DEFENDANT VIo_LATEI) rH-E TE_LEPJHON`E C`oNsUMsR PROTECTION ACT

16 Defendant’ s actions alleged supra constitute numerous negligent yiolations of the TCPA,
entitling .Plaintiff to an award of $500. 00 in statutory damages for each and every y
salaries pursuant 10 47 U.s.C. § 227(1>)(3_)(13)_. g . '

17:. Det`endant’s actions alleged supra constitute numerous and rnultiple knowing and/or g
willful yiolates`of the TCP-A, entitling l)laintiff to an award of 7$1500.(‘)`(`)' in statutory
damages for each and every violation"pursuant_ to _4'7-` U.:S.C". § -22-7(13)'(3_)(1_3') and 47
U. s c §227(1))(3)(<:‘) ' v l l j :

. `_ Wlieret`ore, Plaintii`f, RAY"i\/IUNDO TORR.ES respectfully requests judgment be entered n

against Defendant SEVENTH AVENUE, ll\lC for the following
_ 3 _ "

1 P:,AINTIFF‘s coMPLAINr `

 

 

10

-11

12 n

`13
14

15i

17
" 121
19
20
21
`22__
_ 23

24

.25`

 

A
l

1,.6`_ .

`ase 2:14-cv-06010-RSWL-AGR Document 1 Filed 07/31/14 Page 4 of 10 Page |D #

18. Statutory damages of $500.00 for each and every negligent violation of the TCPA

pursuant to 47 U.S.C. § (b)(?))(B);

19. Statutory damages of 31500.00 for each and every knowing and/or willful violation of

mtheTCPApursuanttoM“USC§(b)(B)(b)andd;?USC""§(bj(S)(C) _ "

20. All court costs, witness fees and other fees incurred; and
21. Any other relief that this Honorable Court deems appropriate

COUNT H
DEFENDANT VIOLATE]) THE ROSENTHAL FAlR DEB'I` COLLECTION
PRACTICES ACT

` 22. 'Plainti'ff repeats and realleges all of the allegations in Count l of Plaintif;t"s Coinplain_t as
the allegations in Count 11 of Plaintift" s Cornplaint.
23. l)et`endant violated the _RFDCPA based on the following
.a. D'efe`ndant violated § l'788.11(d) of then RPDCPA by causing a telephone to ring
repeatedly or continuously to annoy the person called;
b.`. Dei`endant violated § 1788 17 of the RFDCPA by failing to comply with the `
` statutory regulations of the Fair_ De_bt Coll_ection Practices Act, 15 U.S.C_. 1692`@1"

' Seq, §“FDCPA”), to wit:

=:1_. n@reaaam violated §169,2'a 01 the FDCPA by engaging in masat-1116 ~ '

natural consequence of which is to- harass, oppress, and/or abuse any
- person in connection with the collection of a debt. l
winneran nathan santon rosnns, respectaiiyrequesa judgments ‘_ j
ente1ed against Defendant, SEVENTH AVENUE l`NC for the foilowing:_ l
24. Stat`utory damages of $1, 000 00 puisuant to the Rose_nthal Fair Debt Col_lection l
sureties Aa, on Civ. ease §17ss.30(1>), `
-25. C-osts and reasonable attorneys’ fees pursuant to the R.os_enthal Fair Debt Collection
Practices Act, Cal. Civ Code § l788.30(_c), and
2 4 -

PLArN'rirs’s complaint '

 

 

10
11
12

13

14
15

1 16

17

z 13

l-19

2d

21

22

23

24

25

h
ll

 

 

aSe 2:14-cv-06010-RSWL-AGR Document 1 Filed 07/31/14 Page 5 of 10 Page |D #:
26. Any other relief that this Honorable Court deems appropriate

RESPECTFULLY SUBMITTED,

 

 

  

 

 

By:
t’
Ryan S. L`ee
Attorney for P1air1t1ff
DEMAND Fon JURY TRIAL

Preiearr, nAv-MUNDO ronn"ss, hereby demands e jury reel re are eeee.

_5d

rrArNrrrs’s CoMPL/~\rnr

 

Case 2:14-cv-06_010-RSWL-AGR Document 1 Filed 07/31/14 Page 6 of 10 Page |D #:11

AO 440 (Rev. 1'2'/09}' 'Smnmons in a Civil Action'

UNITED STATES DISTRICT COURT

for the
Central District of Caiit`ornia

RAY?\{*HN_P._Q_IQFS§§§

 

 

Flar'm.‘z_‘;j”

v.
SEVENTH AVENUE, |NC_.

 

 

Defendant

SUMMONS' IN A CIVIL ACTION

TOZ (Defendarzt’s name and address) SEVENTH AVENUE, lNC.
` ` 130 Box 2804
1112 7th Ave
, MODTOW, Wl 53566

A lawsuit has been filed against you.

_ Witliin 21 days after service of this summons on you (not counting the day you received it) ;- or 60 days if you
are the United States or a United Sta`t`es ageney, or an officer or employee ot`_ the United States described in lied R. Civ
P 12 _(a){Z) or (3) - yoa must serve on the plaintiff an answer to the attached complaint or a_ motion under Rule_ 12 of
the Federal Ru_les of Civii Procedu_re. T_he answer or motion must be served on the plaintiff or plaintist attorney,
whose naine and address are: Ryan L@@

Krohn 81 E\/toss, t_td.
1047'4 Sa_nta_ Nlonica B_lvd Ste 405
Los Angeies CA 90025

_ lf you fail to respond, judgment by default will be ente1ed against you for the relief denianded in tire complaint
, You also must tiie your answer or motion with the court ,

 

ere 7-- 3 1511

 

Case 2:14-cv-06010-RSWL-AGR Document 1 Filed 07/31/14 Page 7 of 10 Page |D #:12

AO 440 (Rev. 12/09) Summons in a Civil Action (Fage 2)

Civil Action No.

PROOF OF SERVICE
(This section should not be filed with the court unless'required by Fed. R. Civ. P. 4 (l))

'l`liis summons for (name diedividual and title ifcmy)

 

was received by me 011 (da:e)

t’_`] l personally served the summons on the individual at (place)

 

- on (dézre) ` _ ; or

 

C“J l left the summons at fhc individuals residence or usual place ol:` abode with (name)

, a person of suitable age and discretion who resides there,

 

on (dere) , and mailed a copy to the individual’s last known address; or

Cf| l served the summons on (name ofindtvidaal) _ , who is

 

designated by law 10 accept service of process on behalf of (name eforganizanon)

 

 

 

on (daze) 7 ' ; or
l“_`l I returned the summons unexecuted because _ 7 1 ` _ ; or
ij Oi'l'ler (specyj)):
_ My fees are $ 7 for eavel and $ ' for services, for a total of $ 1100

I declare under penalty of perjury that this information_is true

. Daie:

 

Server 'S Sz`gnd£t¢re

 

Prz'nted name and title

 

Server ’S address

Additional information regarding attempted service, e€c:

uNltED s'rATEs elsTalcT couRT, cENTBAL D!sTnic“r or-' cALlFoRNlA
CaSe 2:14-cv-06010-RSWL-AGR Docurrcllim_?co\l§'lltestll£l=.'zl"/?>1/1Af Page 8 of 10 Page |D #:13

DEFEN DANTS
sivEl\zrz~l AvENoE, lslc.

 

rl. (a} PLA|NTEFFS ( Cbecl< box if you are representing yourself [:§ } (Check box lt you are representing yourself §:] )

RAYMUN DO TORRES

 

(b} Attorneys {Flrm l\iarne, Addre_ss and "i”elephone N_umber if you

(b) Attorneys (Flrm Name, Aclc§ress and 'l”eie;abone Number. ll you
are representing yourself provide same information )

are representing yourself, provide same information.)
Krohn 81 Moss, Ltd.; Ryan Lee, Esq. 10474 Santa Monlca B!vd.. Suite 405; i_os Ange§es,

 

 

 

CA 90(}25 {323] 933-2400
li. BASIS OF JURISD|C'!“|ON (Place an X in one box only.) lll. ClT|ZENSHEP OF PR|N_C!PAL PART|ES-For Dlversity Cases Only
‘ (Place an X en one box for plaintiff and one for defendant)
- P F D£F
1. U.S. G_overnment l ..3 Federai Quastion (U. S szen Of»i.h[s grate g .£ |: 1 |ncorp_orated orl’r§n<:lpa| P§ac@ EF 4 §F 4
Plaintlff Government Not a Party) ' _ ' °fBus'ness "`_' zh'$`$€ate 7
` Cltlzen GfAHO‘€h€r Stat€ [:] 2 |:l 2 |ncorporated and Prlncipal ?|ace
" ` . _ ci Buslness in Another State il 5 |:l 5
2. t_l._$. Government §4. Dlversity (lndlcate Cltizenship Citizenor Sut)ject ofa _ 1 , ' ' . _ 1.
Defenclant of Parties 111 ltem lll} ?O¥eign COu_ntry l:l 3 l:l 3 gorelgn Nat'°“ l:l 6- l:l 5

 

 

EV. ORIGlN (Place an X in one box only.}

 

1. OIlginal' 2. Removed from . 3. Re`mancled from 4.1’-l,einstated or 5.?ransf@rred from Another n 1 -G'Mult.§‘
Proceecllng State Ccurt l::l Appel|ate Court l:~l Reopen@ot Distrlct {Slve€llyl :l Lgt?ésat:;§;
` v. REouésTEe an coMPLAtnT: 11le DEMAND: g lres [j- No ` tcheck "res“ only seamanst in complaim.)'
CLASS ACT!ON under F. lR. C\l'.P. 231 l XYeS |:l l\EO |:I MONEY DEMANDED IN COMPLAINT. 5 1

 

V_I. CAUSE OF ACT§ON (Cite the U. S. Civl§ Statute. under which you are filing and write a brief statement of cause Do net cite jurisdictional statutes unless diversity)
15 USC 1692 et seq.; Unla\nrl'ul and Abuslve Qcabt Col§ectlon ?ractices

 

Vil_. NATURE DF SUlT (Place an X in one box onfy}.

  
 

 

   

 

 

 

  

 
 

 

462 Natu_ra|izatlon

 

 

   
 

 

    

  

 

  
  

 

 
  
  
 

 

   
 
       
        
    
 

      

 

 

 

 

 

  

     
 

. m 820 Copyrlghts

     

    

 

  
 

 

 

 

 

 

 

 

 

|:] 325 Fa|se Cialrns Act - [:l lmln;“:anc@ l,:l § App|ic,a€ion " .- Hab€a$€?rbus:
400 State ' 245 `!`Ol'f PFO€lLICl' 463 Allen Detaln'ee '
[:] Reappom°nm-em m z'ZUMar`me ‘ m Llal_°lllty ' . '4650ther _ § 510Motlonsto.\/ac`a'te l:] 830 Patem
m 4}@._ Ant__,'_trlust |___] lZU:_Mll|er/l\<:t `l`”_""] SQO'Ail_Othe'rRea|r vB’_linmigation Ao S_ent§nce l ' ij _S¢lOTradema_rl<
l:]._ 430 Ban'ksand Banl_<in_g § lln:l:r§:$leo§§able ' l:lr 530 enem
450 CDmmerce/lCC ' m ` ”
1 lSO R€COV€VYOF " ' _ 3700therFraud
l:| ‘RawS/Etc [-:| Q`verpayment& |:] BtllAlrp|ane_. m -
[:] 1460 separation JES§;r§e@r:;emof [:3 315 Agp|an_'e l:l 321Tlvfh viewing l:§ 540 Maneames/orher l___§ 363 le_€;/Dlww(4cs tell
470 Ragkez'éer|nflu_ . - 1 z _ _1 l°lOClUCl l-lablllt>’ 3BGOttlerPersonal §§ 550 C_l'vlll:°lights 85455§[)T;1»l@xvl ' '
il enced&CorruptOrg. ]:§ 151 Medicare Act £:} §[20 §ssau§,t Libe`l& l:.l- Propaz'ty Damage" _.5-55. Pr§$¢m Condmon § 865 RS|HOE( ))
_ _ , an er 1 - - 1 -1 ,
489 Ccn§umer€re§i_lt 1 152 R`ecovéry of - 330 ;ed gm lo ets §§ 335 PVGYE'W Damage ` 561`111ivi|lists`i`r`\r§<`-i\1l g _ `
. 1 1 p y 1
_ . = -. g D`ef`au; gregg gtuC['En; §:| Proc|uct liability Cond|.tions Of . v \

' l:l“"go_. ble/gatw Loati{Excl. Vet) m Liab;|zty Conf`ner`nent ama-axesws P|a,'mffor
_ ~i 340Marlne » - ‘~ mm ~»--~1» `
l::| SSOQ:SC$Et§E§/Com' _ 153 R@cove`;'y Of 345 M&n,ne Product l::| 422 App@a 28 - §§,~Q~f: m Def_@l'ldant)_ .

‘~?§0'1§?§@1’;1;§;1 m treats 01 112 eve 151 1 m tennessee 1;:1 eggs 1111 stress
.. ' l - ' - ' 423Wlt drawa¥ 28 ` -
l:l nations mo grockhold@rs. [:] 359 nerorvahrcle l:l USCW uscss 31
l:l 891AgrlculturalActs [:l Sult`s' ' l l § §55dl“~’ll>tl<:_r\lf}§§l]!`lde ` - [:_]_ 6900ttier . 1 , 1
v _ re uc ca lly
893 Env:ronmental iggozher 1 ‘ [:] MGOtberClvl!nght ‘
- 360 Other Persona| "22
l:l Matters _ l:l gorman [3 injury m 441\,0539 g 210FalrLab0rStandards
. 895 Freedom oflnto. . - Act 1

- 195 Contract 362 Pe`rsona§ ln_l_ury-

‘ m Act l _ l:l sroducrz.iab:liry 7 l:l Medmalprarice ij §§ §ml>l§?y¥;‘@“l l:] KZFE_eb_Ot/Mcmt

. [:] 896 Arb§tra;-ion _ .m .1.96‘|:¥36€|1‘5&. g 365§,%0,1&, |n}ury_ mr _ closing earons _

` ` ' P¥Odil€t l-lal?llllll Accomodations [;] 746 Ftailway taborAct

399 Admin. Proc@c§ures - 367 liea§th Car`e/ 445 A§T_\erl€an With
l:] Act/_Review oprpealof [:| 210 l_and § Pharmaceutica| l:] .Dlsab'l'tie$' l:] ::;V:ag::'lyand Med'ca|

Agency Dectslon Cond_emnatlon ?ersonal |njury Emz'-lloymf?m ‘ 1 .

[:| 220 Foreclosure . sroducr liability [:] gennsrrcan wire 13 §9001?1@ Labc)r
§ 950 gonszitu;;c,nal;ty Gf . 230 R.em wage & _ [:| 368 Asb|e:tos_ ' §l:sabl|ltresjother zrl;l‘§:fr;>|;lloyee Ret inc
‘ - erscna nu - 1 ~ 1

State Statutes Ejectmem: prohibit galbillll.'tv l:l 443.§.€£\5€3¥*0"‘ l § gecu;i`ty Act _

¥j"OR OFFICE USE ONLY! CBS@ Numbel': n

 

cv-i'i 1119/131

ctvu. comes s`HEET

Page‘l of3'

     

 
    

CGS€ 21 14'CVU'@13‘L'® RWEMN‘RQQWME tElE‘llRlllLOl$l§$i$léT BBUQFIBRMAP&Q€ lD #114
clvlL coven sHEET

Vlli. VENUE: Yotzr answers to the questions be§ow Wi|| determine the division off:he Colsrt to which this case will most liker be initially assigned This initial assignment
§s subject to change, in accordance with the Court's Genera| Orders, upon review by the Court of your Coz'no§a§nt or Notice of l~`lernoval.

 

Question A: Was this case removed from
state court?

 

 

 

 

 

[:| Yes No |:] l_os Angeles Western
...if "no,l'.go...to.Question.B._lf_"yes,'icheck.the.._. [;|__.Ventura,.$anta Barbara,or.$an.l,u§s Obispo..._ t__.,_ __.M_.,_ ¢.a_,» a,. owe case .,…c ch§§P§I[LW.,…MM mm
box to the right that appliesl enter the
corresponding r,_ilvisio`n in response to [:_| Orange Southern
Question 13, belowr and skip to Section ¥X.
|:] Riverside or San Bernardino Ea$f@m

 

 

 

 

its agencies or employees a party to this
action?

[:] Yes No

 

 

 

 

 

 

 

11"1'10,-" go 16 ouesnon c. lf"yas." checkth §:] l-esAngeles l:l LDS Anséles . W@slem
box to the Ylgi?t t_h§i BPP|\@$LF-`nt@r the g Ventura, Sanl:a Barbara, or San Luis [:J Ventura, Sanra Barbara, or San Luis Weswm
§orrets.pon;ll;glmvlslol;mkre:po$ns;to ix l obispo Obispo
oes lon , e ow, an s 1 o e lon . -
p [:]' Orange |:| Orange Southern
g R§verside orSan Bernardino |:] ¥liverside or San Bernardino Eastern
|:]' 0tl’1er l:| Other _ ' Western

 

 

 

 

 

 

 

 

ma 'orl of claims arose:

[:|- 2_ or more answers i`n Co§umn C

C.1 ls either of the following true? lf so, check the one that applies:

l:] only 1 answer in Column C and no answers in C_olurnn D

rour ease wi§|- -init§a ¥iy be assigned to the
SOUTHERN D.iV§ S¥Oi\l
Enter "So`uthern" in response to Question D, below.

l_f none applies answer question 122 to the rlg§'l’t. amf

§
lnd§c_ate the lcation' 111 whicha - ` 1 1 7 nn ' v w
majority of plaintifis zeslde: . - i:] i:i i:]
indicate the location zn which a ` '
majority of defendants reside:1. - _ i::i i:i i:] i:i [:i
indicate th'e iocation' sra which a - §:| § l:]

 

 

 

C.2. is either of the following {rue? |f so, check the one that applies:

 

 

 

l::] 2 or more answers in Co|umn il

[:]` only 1 answer in Column D and no answers in Coltlmn C

Your case will initially be assigned to the
EASTERN D§ §V|.S|Ol\i
Enter "Easte_rn" in response to Quesn'on D, beiow.

§F none applies go to the box below. l

 

 

Your case will initially be assigned to she
WESTERN DlViSlON.
ln response to Qi.lestion D helow.

inter ”Western

 

 

 

inter the initial division determined by Qo'es on A B, or C above: -*

   

WEST?ERN

 

 

CV»TE (69/'¥ 3)

CEVELCOVER SHEET` Pagez of3

CaS€ 2114-0\/-06019@$\\!¢|_§#\£51§5 memttoui&`lm£m“i&ltxais'nage me untiman lD #:15

 

C|ViL COVER SHEET
lX(a}. IDENTiCAl. CASES: Has this action been previously fiied in this court and dismissed remanded or ciosed? l\lO` [:| YES
if yes. list case number{s}:
ZX(b}. RELATED CASES:' l-lave any cases been previousiy filed in this court that are reiateci to the present case? NO [:§ YES

if yes, list case number(s]i

§§in cases are'_deemed related if a previogsi_y fiied case and the present case: _

 

 

(C?ie€k an boxes thai app§y) g A. Arise from the sa'rne or closely re%ated transactions happenings or events; or

- §:] `B. Ca|| for detezmination of the same or substantially related or similar questions of law and fact; or

|:] C. For other reasons would eat

` |:| D. invo§ve the same patent iad

stantia§ duplication of labor if heard by different judges; or

    

ark or copyright and one of the factors identified above in a, b or c also is present.

 

X_. S|GNATURE OF AT!'_ORNEY
{OR SELF~REPRESENTED LiTlGANT):

/ ‘ - `“ DA“rE; 07/23/2014
l _»-»~»---~»»--~»~»-»-»-~»-----»-. _

 

l\iotice to_Cnurls.el/Parties: The CV-71 (JS-M) Civi| Cover Sheet and the information contained herein neither replace nor supplement the ii|ing and service of pleadings or
other papers as required by law, This form, approved by the Judicia| Conference oftbe United States in September 1-974, is required pursuant to Loca| Rule 3»1 is not filed
§out is used by the C%erk of the Court forthe purpose of statisticsr venue and initiating the civil docket sheet (For more detailed instructionsJ see separate instructions sheet).

 

 

Key to Statistical codes relating to Social 5ecuri1:y Cases:

t Nature of Suit Code

361
862

ass

_ 863 _,

'_ aea._'

865

Abbreviation

rim
BL
olwc
ost
ssio

RS§

Substantive Statemen'c of Cause of Action .. .

Al§ claims for hea§th insurance beneits (Nieclicare) under Tit|e 18, Part A, of the Social Security Act, as amended Aiso,
include c§aims by nospitais, skil§ed nursing facilitiesr etc., for certification as providers of services undes the program
(42 U.$.C. 1935FF(b})

Ali claims for "Blacl< Lung" benths under Titie 4, Part B, oftbe Fedeta§ Coa| Niine ilealth and Safety Act 051969. (3€} U.S.C.
923) . .

Al| claims filed by insured Worl<`ers for disability/insurance benefits under Titie 2 of the 50_cial Security Act, as amended; plus
all claims filed for chi|d‘s insurance benefits based on disability (42 U.S.C. 405 (g}}

A|| claims Fl|ec| for widows or widowers insurance benefits based on disability under “E’itle 2 of the Socia[ Securisy Act, as
amended-042 L_}.S.C. 405 (g))

A|| clair'n‘;sj for suop§ement`a§ security income §§aym'ents based upon disability ii|eci underTisie 16 ofthe Social Security ri\ctr as
amende . - . "

A||\cla'ims for retirement (old age) and survivors benefits underTitle 2 oftne Sociai Secu_rity Act, as amended

_i42 u.S.C. dies (g))

 

€V-71 [09/13]

civic coven_snsc~:“r _ . _ sage a afa

